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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ANDREW MEYER
 212 Armitage Court                                  CIVIL ACTION NO:
 Lincoln University, PA 19352
                                                     COMPLAINT WITH JURY DEMAND
        Plaintiff,

        v.

 WHIRLPOOL CORP.
 200 N M-63
 Benton MI 49022
 South 54th Street501 South 54th
        Defendant.

                                CIVIL ACTION COMPLAINT

       Plaintiff Andrew Meyer (“Plaintiff”), by and through his undersigned counsel, hereby

complains as follows against Defendant Whirlpool Corp. (“Defendant”).

                                       INTRODUCTION

       1.       Plaintiff has initiated this action to redress violations by Defendant of the

Uniformed Services Employment and Reemployment Rights Act (“USERRA”). Defendant

discriminated against Plaintiff on the basis of his enrollment in the Uniformed Services, and

terminated him because of USERRA-qualifying leaves and/or to prevent him from taking further

USERRA-qualifying leave, in violation of USERRA.

                                 JURISDICTION AND VENUE

       2.       This Court has original subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because the claims herein arise under laws of the United States, specifically 38

U.S.C. §4303(4)(A).




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       3.       This Court may properly maintain personal jurisdiction over Defendant because

Defendant’s contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice.

       4.       Pursuant to 38 U.S.C. §4323(c)(2), venue is properly laid in this judicial district

because Defendant maintains a place of business within this judicial district.

                                              PARTIES

       5.       The foregoing paragraphs are incorporated herein as if set forth in full.

       6.       Plaintiff is an adult individual with an address as set forth in the caption.

       7.       Defendant is a corporation whose headquarters is set forth in the caption, and who

does business in Pennsylvania.

       8.       At all times relevant herein, Defendant acted through its agents, servants, and

employees, each of whom acted at all times relevant herein in the course and scope of their

employment with Defendant.

                                   FACTUAL BACKGROUND

       9.       The foregoing paragraphs are incorporated herein as if set forth in full.

       10.      In or around December 2012, Defendant offered Plaintiff the position of Electrical

Engineer Lead.

       11.      On or about March 18, 2013, Plaintiff began working for Defendant at its Michigan-

based headquarters.

       12.      At all times relevant hereto, Plaintiff was a member of the United States Air Force.

       13.      From in or around April 2015 through June 2015, Plaintiff required a leave of

absence from Defendant to serve in the United States Air Force.




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       14.     Throughout his leave of absence, Plaintiff continued to perform work remotely for

Defendant.

       15.     From 2013 through 2016, each performance review provided to Plaintiff identified

him as providing “Strong Results” or “Very Strong Results.”

       16.     In or around September 2016, Plaintiff was assigned to a special project under

Supervisor John Lanham (“Supervisor Lanham”).

       17.     On or about December 26, 2016, Supervisor Lanham awarded Plaintiff a Whirlpool

BRAVO! award for his performance on the special project.

       18.     Thereafter, in or around early Spring 2017, Supervisor Lanham again praised

Plaintiff’s performance on a special project, offering him a reward of a front parking space.

       19.     In or around April 2017, Plaintiff received orders to participate in an active duty

assignment from August 21, 2017 through November 26, 2017.

       20.     Plaintiff immediately notified Defendant’s Human Resources department of his

need for leave related to same.

       21.     Plaintiff advised Defendant that he was willing to continue his job duties remotely

to assist Defendant.

       22.     In response, Plaintiff was advised that he would be unable to access Defendant’s

network and that he could not perform work during his USERRA leave.

       23.     In or around early August 2017, Plaintiff notified Supervisor Lanham of his

upcoming leave of absence to serve in active Air Force Duty.

       24.     Thereafter, Plaintiff provided Defendant with copies of his deployment orders

related to same.




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           25.   In response, Supervisor Lanham asserted that Plaintiff’s absence would be a “good

cost savings” for Defendant.

           26.   Thereafter, on or about August 8, 2017, Supervisor Lanham provided Plaintiff with

his 2017 Mid-Year Review.

           27.   Plaintiff’s 2017 Mid-Year review asserted that Plaintiff was not meeting target

ratings.

           28.   Prior to receiving his review, Plaintiff had never been notified that he was not

meeting targets.

           29.   In fact, the 2017 Mid-Year review was an inaccurate representation of Plaintiff’s

performance.

           30.   From August 21, 2017 until November 17, 2017, Plaintiff was deployed to Air

Force duty.

           31.   On or about November 26, 2017, Plaintiff advised Defendant that he had completed

his USERRA qualifying leave and that he was ready to return to work.

           32.   In response, Plaintiff was advised to contact Human Resources to terminate his

leave.

           33.   Plaintiff contacted Defendant’s Human Resources on several occasions between

November 26 and November 29, 2017.

           34.   Plaintiff was unable to make contact with Defendant’s Human Resources regarding

his return to work until November 29, 2017.

           35.   On December 4, 2017, Plaintiff was returned to work.

           36.   Upon returning to work, Plaintiff immediately noticed that his job duties were

significantly changed.



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       37.      Specifically, Plaintiff was assigned lower level engineering tasks such as data entry

and lab work.

       38.      On or about December 12, 2017, Plaintiff reported to Defendant’s Human

Resources that he believed Defendant had violated USERRA mandated pay practices in relation

to his deployment.

       39.      On or about January 3, 2018, Plaintiff filed a complaint with the United States

Department of Labor alleging the following USERRA violations:

             a. That Defendant had retaliated against him for seeking a USERRA protected leave

                of absence by providing him with a negative performance review in August 2017;

             b. That Defendant failed to re-employ him in a substantially similar position upon his

                return from a USERRA protected leave; and

             c. That Defendant failed to comply with USERRA mandated vacation practices as

                related to his military leave;

             d. That Defendant failed to comply with USERRA mandated retirement plan

                contribution practices as related to his military leave; and

             e. Raising concerns related to Defendant’s internal USERRA leave policies and the

                enforcement of same.

       40.      On or about January 10, 2018, the United States Department of Labor contacted

Defendant and advised Defendant of Plaintiff’s complaint.

       41.      On or about January 30, 2018, Defendant fired Plaintiff.

       42.      Defendant advised Plaintiff that his termination was due to a “lay-off.”

       43.      In fact, Defendant fired Plaintiff because of his membership in the uniformed

services, and/or in retaliation for his USERRA-qualifying leaves, and/or to prevent him from



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taking future USERRA-qualifying leaves, and/or in retaliation for his complaints of USERRA

violations by Defendant.

           44.   Given Defendant’s representation that Plaintiff was terminated due to a “lay-off,”

Plaintiff applied for additional open positions with Defendant for which he was qualified.

           45.   On or about January 31, 2018, Plaintiff was invited to interview for a position at

Defendant’s offices.

           46.   On or about February 1, 2018, Plaintiff interviewed for a position at Defendant’s

offices.

           47.   During the course of his interview, the interviewer advised Plaintiff that he looked

forward to having the Plaintiff on “the team”.

           48.   Thereafter, no contact was made by the Defendant regarding the position that the

Plaintiff interviewed for.

           49.   Defendant’s refusal to hire Plaintiff was because of his membership in the

uniformed services, and/or in retaliation for his USERRA-qualifying leaves, and/or to prevent him

from taking future USERRA-qualifying leaves, and/or in retaliation for his complaints of

USERRA violations by Defendant.

           50.   As a result of Defendant’s unlawful action, Plaintiff has suffered harm.

                                         COUNT I
     Violations of the Uniformed Services Employment and Reemployment Rights Act
                           (Discrimination in Violation of §4311)

           51.   The foregoing paragraphs are incorporated herein as if set forth in full.

           52.   At all times relevant hereto, Plaintiff was an “employee” as defined by the

USERRA. 38 U.S.C. §4303(3).




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       53.     At all times relevant hereto, Defendant was an “employer” as defined by the

USERRA. 38 U.S.C. §4303(4).

       54.     Defendant provided Plaintiff with a negative performance review, because of his

membership in and/or duty to serve in the United States Air Force.

       55.     Defendant denied Plaintiff the pay and benefits for which he was entitled during

the course of his USERRA qualifying leave because of his membership in and/or duty to serve in

the United States Air Force.

       56.     Defendant fired Plaintiff because of his membership in and/or duty to serve in the

United States Air Force.

       57.     Defendant refused to hire Plaintiff for a position for which he was qualified because

of his membership in and/or duty to serve in the United States Air Force.

       58.     Defendant’s conduct interfered with Plaintiff’s rights under §4311(a) and §4311(b)

and accordingly violated and USERRA, and specifically: §4311(c)(1) and §4311(c)(2).

       59.     As a direct and proximate result of Defendant’s actions as described above,

Defendant violated the USERRA causing Plaintiff to suffer damages, including but not limited to

past lost earnings, future lost earnings, and emotional distress.

                                        COUNT II
     Violations of the Uniformed Services Employment and Reemployment Rights Act
                              (Violations of §4312 and §4313)
       60.     The foregoing paragraphs are incorporated herein as if set forth in full.

       61.     Under §4312 and §4313 of USERRA, Plaintiff was entitled to reinstatement to his

previously held position following his leave to serve in the armed forces.

       62.     Defendant retaliated against Plaintiff by failing to reemploy him in a substantially

similar position following his return from a leave of absence to serve in the armed forces.



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       63.     Defendant retaliated against Plaintiff by firing him for taking leaves of absence to

serve in the armed forces.

       64.     Defendant retaliated against Plaintiff by refusing to hire him because of his

previous leaves of absence to serve in the armed forces.

       65.     As a direct and proximate result of Defendant’s actions as described above,

Defendant violated the USERRA causing Plaintiff to suffer damages, including but not limited to

past lost earnings, future lost earnings, and emotional distress.

                                       COUNT III
     Violations of the Uniformed Services Employment and Reemployment Rights Act
         (Interference with Rights Guaranteed under §4311, §4312, §4313, §4316)

       66.     The foregoing paragraphs are incorporated herein as if set forth in full.

       67.     Defendant denied Plaintiff retention in employment in violation of USERRA,

denied Plaintiff reemployment opportunities, denied Plaintiff his previously held seniority and

other rights and benefits of his employment because (1) Plaintiff was a member of the armed

services; (2) because Plaintiff required a leave of absence to report to duty to the armed forces;

and (3) because Plaintiff requested a USERRA leave.

       68.     Defendant’s conduct in this regard interfered with Plaintiffs’ rights under

USERRA, and specifically under §§4311, 4312, 4313, and 4316.

       69.     As a direct and proximate result of Defendant’s actions as described above,

Defendant violated the USERRA causing Plaintiff to suffer damages, including but not limited to

past lost earnings, future lost earnings, and emotional distress.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendant is to be prohibited from continuing to maintain its illegal policy,

practice, or custom of failing to inform employees of their rights under the USERRA;



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       B.       Defendant is to be prohibited from continuing to maintain its illegal policy,

practice, or custom of denying employees their rights under the USERRA;

       C.       Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s

illegal actions, including but not limited to past lost earnings and future lost earnings;

       D.       Plaintiff is to be awarded liquidated damages in an amount believed by the Court

or trier of fact to be appropriate to punish Defendant for its willful, deliberate, malicious, and

outrageous conduct and to deter Defendant or other employers from engaging in such misconduct

in the future (liquidated damages are sought under USERRA);

       E.       Plaintiff is to be awarded punitive damages (as permitted by applicable law) in an

amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,

deliberate, malicious, and outrageous conduct and to deter Defendant and other employers from

engaging in such misconduct in the future;

       F.       Plaintiff is to be awarded damages for emotional distress and/or pain and suffering

(as permitted by applicable law) in an amount to be determined by the Court or trier of fact to be

appropriate under the circumstances;

       G.       Plaintiff is to be awarded any and all other equitable and legal relief as the Court

deems just, proper, and appropriate;

       H.       Plaintiff is to be awarded the costs and expenses of this action and reasonable legal

fees as provided by applicable law.

       I.       Plaintiff’s claims are to receive a jury trial.



(Signature on next page)



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                                          Respectfully submitted,

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Dated: November 8, 2018




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